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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION

UNITED STATES OF AMERICA

% CRIMINAL NO. 3:@.3~¢C7~@3-7SL-LGL
CHRISTIAN LEE DEDMON,

HUNTER THOMAS ELWARD, and

DANIEL READY OPDYKE

NOTICE OF MAXIMUM PENALTY

CHRISTIAN LEE DEDMON

Counts 1 and 2: Deprivation of Rights Under Color of Law
18 U.S.C. §242

e Not more than ten (10) years imprisonment

e Not more than a $250,000 fine

e Not more than three (3) years supervised release
e $100 special assessment each count

Count 3: Use and Carry and Brandish and Discharge of a Firearm

During a Crime of Violence
18 U.S.C. §924(c)(1)

e Not less than ten (10) years imprisonment, not more than Life, to
run consecutive

e Not more than a $250,000 fine

e Not more than five (5) years supervised release

e $100 special assessment

HUNTER THOMAS ELWARD

Count 1: Deprivation of Rights Under Color of Law
18 U.S.C. §242

Not more than ten (10) years imprisonment

Not more than a $250,000 fine

Not more than three (3) years supervised release
$100 special assessment each count
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DANIEL READY OPDYKE

Count1: Deprivation of Rights Under Color of Law
18 U.S.C. §242

Not more than ten (10) years imprisonment

Not more than a $250,000 fine

Not more than three (3) years supervised release
$100 special assessment each count
